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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

                           Case No. 8:20-cv-00676-MSS-CPT

   STRIKE 3 HOLDINGS, LLC, a limited liability
   company,

           Plaintiff,

   v.

   JOHN DOE subscriber assigned IP address
   47.197.99.186, an individual,

           Defendant.

                                                 /

           PLAINTIFF’S MOTION FOR LEAVE TO SERVE A THIRD-PARTY
        SUBPOENA PRIOR TO RULE 26(f) CONFERENCE AND INCORPORATED
                    MEMORANDUM OF LEGAL AUTHORITY




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           PLAINTIFF’S MOTION FOR LEAVE TO SERVE A THIRD-PARTY
        SUBPOENA PRIOR TO RULE 26(f) CONFERENCE AND INCORPORATED
                    MEMORANDUM OF LEGAL AUTHORITY

           Pursuant to Fed. R. Civ. P. 26(d)(1), Strike 3 Holdings, LLC (“Plaintiff” or

   “Strike 3”), respectfully moves for entry of an order granting it leave to serve a third-

   party subpoena on Frontier Communications, prior to a Rule 26(f) conference (the

   “Motion”). In support of this Motion, Plaintiff files the following: (1) Declaration of

   David Williamson as Exhibit “A”; (2) Declaration of Patrick Paige as Exhibit “B”; (3)

   Declaration of Susan B. Stalzer as Exhibit “C”; and, a copy of the Proposed Subpoena as

   “Exhibit “D.” Plaintiff provides the following Memorandum of Legal Authority in

   support of this Motion:

    MEMORANDUM OF LEGAL AUTHORITY IN SUPPORT OF PLAINTIFF’S
   MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR TO A
                      RULE 26(f) CONFERENCE

   I.      INTRODUCTION

           Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of

   original, award winning motion pictures featured on its brand’s subscription-based adult

   websites. Unfortunately, Strike 3’s success has led users on the Internet to illegally

   infringe its works on a very large scale. Indeed, Strike 3’s motion pictures are among the

   most infringed content in the world. See Declaration of David Williamson, attached

   hereto as Exhibit “A.”

           Strike 3, using its proprietary forensic software, VXN Scan (“VXN”), monitored

   and detected the infringement of Strike 3’s content. See id. at ¶ 40. VXN discovered that

   Defendant’s IP address was illegally distributing several of Strike 3’s motion pictures.


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   See Declaration of Patrick Paige, attached hereto as Exhibit “B”. This IP address is

   assigned to Defendant by his or her Internet Service Provider (“ISP”), which is the only

   party with the information necessary to identify Defendant by correlating the IP address

   with John Doe’s identity. Id. at ¶ 22. As a result, Plaintiff now seeks leave to serve

   limited, immediate discovery on Defendant’s ISP, Frontier Communications (Frontier

   Communications) so that Plaintiff may learn Defendant’s identity, investigate

   Defendant’s role in the infringement, and effectuate service. Further impelling

   expediency, Defendant’s ISP only maintains the internal logs of the requested

   information for a brief period of time. 1

              Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s ISP.

   This subpoena will only demand the true name and address of Defendant. Plaintiff will

   only use this information to prosecute the claims made in its Complaint. Without this

   information, Plaintiff cannot serve Defendant nor pursue this lawsuit and protect its

   copyrights.

   II.        FACTS

         A. BitTorrent Infringement has a Serious and Damaging Impact on Strike 3.

             Strike 3 holds title to the intellectual property associated with the Blacked, Blacked

   Raw, Tushy, and Vixen adult brands (the “Brands”), including the copyrights to each of


         1
          See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division Before
   The Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland Security United States
   House                 Of             Representatives,              (January            2011)            at
   http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/11//01-25-11-crm-
   weinstein-testimony-re-data-retention-as-a-tool-for-investigating-internet-child-pornography-and-other-
   internet-crimes.pdf, stating: “Some [ISP] records are kept for weeks or months; others are stored very
   briefly before being purged.”


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   the motion pictures distributed through the Brands’ sites and the trademarks to each of

   the Brand’s names and logos. Decl. Williamson at ¶ 13. Strike 3 is owned entirely by

   General Media Systems (“GMS”) and has existed since 2015. Id.

          Although it started out small, the Brands’ websites now host approximately 15

   million visitors each month. Id. at ¶ 14. This success is no fluke. Strike 3’s philosophy

   has always been to pay artists and models an amount above that being paid by other

   companies, focusing on delivering superior quality films. Id. at ¶¶ 15–17. Moreover,

   Strike 3’s motion pictures are known for having some of the highest production budgets

   of any in the adult industry. Id. at ¶ 19.

          Because of this commitment to quality, the websites for the Brands have a

   subscriber base that is one of the highest of any adult sites in the world. Id. at ¶ 20.

   Strike 3 is also currently the number one seller of adult DVDs in the United States. Id. at

   ¶ 21. Finally, Strike 3’s content is licensed throughout the world, including by most

   major cable networks. Id. at ¶ 22. This success has led to numerous awards being

   bestowed upon Strike 3, such as “adult site of the year,” “best marketing campaign –

   company image,” and “best cinematography.” Id. at ¶ 23.

         Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3,

   and Strike 3 “can compete in the industry, but [it] cannot compete when our content is

   stolen.” Id. at ¶ 26. To continue to provide value for members, exciting and inspiring

   projects for adult performers, and to continue to create top paying jobs and growth in the

   adult community, Strike 3 must protect its copyrights. Id. at ¶ 39.




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      B. Strike 3 Brings its Litigation in Good Faith.

          Strike 3 is mindful of the nature of the litigation and its goal is to not disclose

   publicly the choices that people make regarding the content they wish to enjoy.

   Moreover, Strike 3 does not seek to force anyone to settle unwillingly, especially anyone

   that is innocent. Id. at ¶ 33. Therefore, Strike 3 only files strong cases against extreme

   infringers. Id. at ¶ 34. Indeed, each lawsuit is brought against infringers that not only

   engage in illegal downloading, but are also large scale unauthorized distributors of Strike

   3’s content. Id. Strike 3 does not seek settlements unless initiated by a defendant or a

   defendant’s counsel. Id. at ¶ 35. Additionally, Strike 3 does not send demand letters. Id.

   Finally, although certainly Strike 3 does not believe anyone should be embarrassed about

   enjoying Strike 3’s works (they just need to pay for that right, not steal it), Strike 3

   respects the desire of defendants to keep private their choices regarding the content they

   choose to enjoy. Accordingly, Strike 3 has a policy to: (1) enter into confidentiality

   agreements with defendants to facilitate resolution of a case; and (2) stipulate to requests

   by defendants to the entry of orders in litigation to maintain the confidentiality of a

   defendant’s identity. Thus, Strike 3 is careful to only proceed to litigation with strong

   cases, when it has a good faith basis for doing so, and to enforce its rights in a way that is

   mindful of a defendant’s privacy interests.

          Strike 3 is a successful adult entertainment company that makes nearly all of its

   revenue from sales of subscriptions, DVDs and licenses. Id. at ¶ 37. Strike 3’s goal is to

   deter piracy (and seek redress for its harmful consequences) and direct those who infringe

   content to the avenue of legitimately acquiring access to Strike 3’s works. Id.


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   III.      ARGUMENT

          A. Legal Standard Governing Expedited Discovery Requests to Identify an
             Anonymous Defendant.

             “The Federal Rules of Civil Procedure prohibit ‘discovery from any source before

   the parties have conferred as required by Rule 26(f), except,’ inter alia, when authorized

   by court order.” Clear Skies Nevada, LLC v. Doe, No. CV 15-1987-ORL-40-TBS, 2015

   WL 12938950, at *1 (M.D. Fla. Dec. 3, 2015) (citing Fed. R. Civ. P. 26(d)(1) and M.D.

   FLA. R. 3.05(c)(2)(B)). “Permission to take expedited discovery prior to the Rule 26(f)

   conference may be granted upon a showing of good cause.” Malibu Media, LLC v. Doe,

   No. CV 15-2314-T-17TBM, 2015 WL 12856086, at *1 (M.D. Fla. Nov. 6, 2015)

   (collecting cases).

             “In cases involving infringement via the [I]nternet, courts often evaluate good

   cause by considering factors such as the concreteness of the plaintiff's prima facie case of

   infringement; the specificity of the discovery request; the absence of alternative means to

   obtain the subpoenaed information; and the need for the subpoenaed information to

   advance the claim.” Manny Film LLC v. Doe, No. CV 15-507-T-36EAJ, 2015 WL

   12850566, at *1 (M.D. Fla. May 18, 2015) (citing Arista Records v. Doe 3, 604 F.3d 110,

   119 (2d Cir. 2010) (citing Sony Music Entm't v. Does 1–40, 326 F. Supp. 2d 556, 564–65

   (S.D. N.Y. 2004)). “Plaintiff has established that good cause exists, based on the above-

   referenced factors, for it to serve a third party subpoena on . . . the Internet Service

   Provider . . . .” Malibu Media, LLC v. Doe, No. CV 14-61955, 2014 WL 12605556, at *1

   (S.D. Fla. Nov. 17, 2014); see e.g., Strike 3 Holdings, LLC v. Doe, No. CV 17-1680

   (CSH), 2017 WL 5001474, at *6 (D. Conn. Nov. 1, 2017).

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      B. There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve
         Its Subpoena.

          1. Plaintiff’s Complaint Makes A Prima Facie Claim for Direct Copyright
             Infringement.

          To make a prima facie claim for copyright infringement, Plaintiff must show (1)

   ownership of a valid copyright, and (2) copying of constituent elements of the work that

   are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).

   Plaintiff’s Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works,

   which [are] an original work of authorship”; (2) “[d]efendant copied and distributed the

   constituent elements of Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no

   point in time did Plaintiff authorize, permit or consent to Defendant’s distribution of its

   Works, expressly or otherwise.” See Complaint at ¶¶ 35–37.

          Plaintiff owns a valid copyright in the Works, which are registered with the

   United States Copyright Office. See 17 U.S.C. § 410(c); see also Complaint at ¶¶ 31–32.

   Plaintiff’s prima facie allegations of infringement are attested to by Plaintiff’s

   investigator, David Williamson. See Decl. Williamson. Finally, each digital file has

   been verified to be a copy of one of Plaintiff’s copyrighted works. See Declaration of

   Susan Stalzer, Exhibit “C.”

          Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

   'copying' is shorthand for the infringing of any of the copyright owner's five exclusive

   rights’ described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013

   (9th Cir. 2001). Plaintiff’s Complaint alleges that Defendant not only downloaded

   Plaintiff’s works over the BitTorrent network, see 17 U.S.C. § 106(1), but also distributed



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   these files to the BitTorrent swarm. See id. § 106(3); see also Complaint at ¶36. “This is

   sufficient to state a prima facie claim.” Strike 3 Holdings, LLC v. Doe, No. CV 18-777

   (JRT/BRT), 2018 WL 2078707, at *2 (D. Minn. May 4, 2018); see Malibu Media, No.

   CV 15-2314-T-17TBM, 2015 WL 12856086 at *1 (finding a similar claim established a

   prima facie case, particularly because it was “demonstrated through a forensic

   investigation which reasonably confirms that Doe Defendant's IP address was being used

   on the BitTorrent peer-to-peer network to reproduce and display Plaintiff's copyrighted

   work”).

          2. Plaintiff Identifies the Limited and Specific Information Its Subpoena Seeks
             That Is Necessary to Serve Doe Defendant.

          “Plaintiff’s subpoena clearly seeks relevant information.” Strike 3 Holdings, LLC

   v. Doe, No. CV 18-2648 (VEC), 2019 WL 78987, at *3 (S.D.N.Y. Jan. 2, 2019).

   “Plaintiff's request is specific in that it is limited to basic information such as Doe

   Defendant's name and addresses.” Manny Film, No. CV 15-507-T-36EAJ, 2015 WL

   12850566 at *2. “Courts have labeled the subscriber's identity and address as ‘highly

   specific,’ recognizing that Plaintiffs clearly need identification of the putative John Does

   in order to serve process on them and prosecute their claims . . . .” Strike 3 Holdings, No.

   CV 3:17-1680 (CSH), 2017 WL 5001474 at *3 (citations and internal quotations

   omitted).; Malibu Media, No. CV 15-2313-T-17EAJ, 2015 WL 12850570 at *1

   (“Plaintiff's request is specific in that it is limited to basic information such as Doe

   Defendant's name and addresses.”). “Because the subpoena is sufficiently specific, the

   second principal factor weighs in favor of the Court granting Plaintiff's motion for leave




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   to serve the subpoena.” Strike 3 Holdings, No. CV 17-1680 (CSH), 2017 WL 5001474 at

   *3.

            3. There Are No “Alternative Means” to Uncover Doe Defendant’s True
               Identity.

            At this early stage in litigation, “[t]he only information Plaintiff has regarding

   Defendant Doe is his IP address.” Id. at *4. People using the internet are anonymous to

   the public, but the ISPs responsible for assigning any given IP address know who an

   address is assigned to and how to get in contact with them. Since there is no public

   registry of what IP addresses correspond to which subscribers, Plaintiff’s subpoena is

   necessary to advancing litigation. See Declaration of Philip Pasquale, Exhibit “C”; BMG

   Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., No. CV 16-1972, 2018 WL 650316, at

   *2 (4th Cir. Feb. 1, 2018) (noting “only the ISP can match the IP address to the

   subscriber's identity”).

            There is simply no alternative means by which Plaintiff can identify Doe

   Defendant absent the present subpoena.           Indeed, “BitTorrent software is ‘largely

   anonymous’ except insofar as it requires a user to broadcast the user's IP address.” John

   Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185, 190 (S.D.N.Y. 2012).              “Plaintiff has

   established that good cause exists for it to serve a third-party subpoena on . . . the ISP

   identified in the complaint, because a Rule 45 subpoena to John Doe's ISP is the only

   way in which Plaintiff can identify John Doe and thus move forward with the case.”

   Malibu Media, LLC v. Doe, No. CV 13–21579, 2013 WL 2950593, *1 (S.D .Fla. June 14,

   2013).




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           “Moreover, the information the plaintiff seeks is time sensitive as ISPs do not

   retain user activity logs for an extended duration.” Malibu Media, No. CV 15-2295-T-

   24TGW, 2015 WL 12850568 at *1. “If the information is erased, Plaintiff will be unable

   to link the IP address to Doe Defendant and pursue its infringement lawsuit. In situations

   where ‘time is of the essence,’ courts have found good cause to grant expedited

   discovery.” Id. (citing Arista Records LLC v. Does 1–7, No. CV 3:08–18(CDL), 2008

   WL 542709, at *1 (M.D. Ga. Feb. 25, 2008) (citation omitted)). Simply put, “Plaintiff

   has no other means to uncover Doe Defendant's identity.” Manny Film, No. 15-CV-507-

   T-36EAJ, 2015 WL 12850566 at *2.

          Plaintiff originally attempted to gain permission to serve the subpoena requested

   in this application by first utilizing a state court procedure in Florida, where Strike 3's

   infringement detection servers are located. Compl. ¶ 6. However, when Defendant

   objected and asserted that they preferred that this request for a subpoena be litigated in

   the federal court of his or her domicile, Plaintiff agreed to file the instant action. Id. But

   regardless of whether the subpoena is authorized by a court in Florida, or this Court (as

   Defendant prefers), the fact remains: a subpoena to the ISP is the only method available

   for Plaintiff to learn Defendant’s identity.

          4. The Subpoenaed Information Is Necessary to Advance Plaintiff’s Infringement
             Claim.

          As previously emphasized, Plaintiff cannot properly serve Doe Defendant without

   first ascertaining the subscriber’s identity from his or her ISP. As one court aptly framed

   it: “Ascertaining the identities and residences of the Doe defendants is critical to

   plaintiffs' ability to pursue litigation, for without this information, plaintiffs will be

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   unable to serve process.” Sony Music Entm't, 326 F. Supp. 2d at 566. “Because learning

   the true identities of the pseudonymous individuals alleged to have violated Plaintiffs'

   copyrights is essential to their prosecution of this litigation, Plaintiffs have demonstrated

   their need for expedited discovery.” Arista Records, 589 F. Supp. 2d at 153. “[W]ithout

   identifying Doe Defendant, Plaintiff cannot issue a summons and serve Doe Defendant in

   this lawsuit. Without participation by Doe Defendant, there can be no meaningful Rule

   26(f) conference. Accordingly, Plaintiff has established good cause for proceeding with

   expedited discovery prior to the Rule 26(f) conference.” Manny Film, No. CV 15-507-T-

   36EAJ, 2015 WL 12850566 at *2.

          5. Defendant’s Minimum Privacy Interest Is Substantially Outweighed by
             Plaintiff’s Interest in Protecting Its Copyrights from Mass BitTorrent
             Infringers.

          “[T]here is no expectation of privacy in ‘subscriber information provided to an

   internet provider,’ such as an IP address.” Strike 3 Holdings, No. CV 3:17-1680 (CSH),

   2017 WL 5001474 at *5 (citation omitted); see also Sony Music Entm't Inc., 326 F. Supp.

   2d at 566–67 (noting Plaintiffs are “entitled to discovery in light of” this minimal

   interest). “Although the Eleventh Circuit has not addressed whether the Fourth

   Amendment protects IP addresses, 2 other courts of appeal have held that it does not.”

   Levinson v. United States, No. CV 14-81244, 2016 WL 5408165, at *2 (S.D. Fla. Sept.

   28, 2016), certificate of appealability denied, No. CV 16-17548, 2017 WL 6760762 (11th

   Cir. May 11, 2017) (collecting cases). Indeed, courts throughout this Circuit have held


   2
    For a discussion on how IP address connect to and route Internet traffic, see generally
   United States v. Steiger, 318 F.3d 1039, 1042 (11th Cir. 2003) and articles cited within.


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   that “Defendant does not have a reasonable expectation of privacy in [his or her] IP

   address . . . .” United States v. Ryan Anthony Adams, No. CR 6:16-11-ORL-40GJK,

   2016 WL 4212079, at *4 (M.D. Fla. Aug. 10, 2016); see also id. at *3 (“Computer users

   lack a legitimate expectation of privacy in information regarding the to and from

   addresses for emails, the IP addresses of websites visited, the total traffic volume of the

   user, and other addressing and routing information conveyed for the purpose of

   transmitting Internet communications to or from a user.”). Here, Plaintiff’s central need

   for the subpoenaed for information, combined with its strong claim, substantially favors

   good cause. See Arista Records, 604 F.3d at 124 (finding Doe Defendant’s “expectation

   of privacy for sharing copyrighted [works] through an online file-sharing network as

   simply insufficient to permit him to avoid having to defend against a claim of copyright

   infringement.”).

          As to free speech concerns, “[i]n cases where parties have argued that the First

   Amendment protected their anonymous speech in using their IP addresses, the Second

   Circuit has held that copyright infringers are not entitled to shield their identities from

   those who seek to enforce their claims under copyright law.” Strike 3 Holdings, No. CV

   3:17-1680 (CSH), 2017 WL 5001474 at *6 (listing examples). “[T]he Doe Defendant's

   First Amendment right to remain anonymous must give way to Plaintiff's right to use the

   judicial process to pursue its allegedly meritorious copyright infringement claim.

   Moreover, the Doe Defendant lacks the right under the Fourth Amendment to protect his

   IP address from revelation, where he has voluntarily shared such information with the

   Internet Service Provider. Plaintiffs will be granted leave to take early discovery to


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   determine the identity of Defendant Doe.” Id. “‘[C]ourts routinely find the balance favors

   granting a plaintiff leave to take early discovery’ of the materials sought by the Plaintiffs

   here.” Arista Records, 589 F. Supp. 2d 151 at 153 (quoting UMG Recordings, Inc. v.

   Doe, No. CV 08–1193, 2008 WL 4104214, at *4 & n. 3 (N.D. Cal. Sept. 3, 2008)).

         C. Protective Order

            In some BitTorrent cases involving adult content, courts have found it appropriate

   to issue a protective order establishing procedural safeguards such as allowing a

   defendant to proceed pseudonymously. See Manny Film, No. CV 15-507-T-36EAJ, 2015

   WL 12850566 at *2 (employing various safeguards); see also Strike 3 Holdings, LLC v.

   Doe, 2019 WL 78987 at *1 (employing safeguards including allowing the defendant to

   proceed pseudonymously). To that end, Plaintiff respectfully encourages the Court to

   establish procedural protections it deems appropriate.

   IV.      CONCLUSION

            For the foregoing reasons, Strike 3 respectfully requests this Court grant leave to

   Strike 3 to issue a Rule 45 subpoena to Defendant’s ISP.

                          LOCAL RULE 3.01(g) CERTIFICATION

            As explained in the foregoing Motion, Defendant is known only by an IP

   Address. Because undersigned counsel does not know Defendant’s identity, undersigned

   could not confer with Defendant in accordance with Local Rule 3.01(g) prior to filing this

   Motion. In an abundance of caution, undersigned contacted last known counsel for

   Defendant who stated that they do not represent Defendant in this matter.




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   Dated: May 28, 2020                Respectfully submitted,

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